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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA



IN RE: FEMA TRAILER                                   MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                          SECTION N

                                                      MAGISTRATE 5


THIS DOCUMENT RELATES TO:

Nunnery, 09-3871 (Plaintiff: Keith Nunnery)

Albarado, 09-3731, Foxworth, 09-7085,
Mistretta, 09-4704 (Plaintiff: Vanessa S. Jiles)

______________________________________

                    BELLWETHER TRIAL SCHEDULING ORDER
                     (NOVEMBER 8, 2010 BELLWETHER TRIAL)

         Pursuant to Pretrial Order Nos. 67 (Rec. Doc. No. 14087) and 70 (Rec. Doc.

No. 14312), the following deadlines are entered as they relate to the bellwether

trial proceeding against Keystone RV Company, CH2M HILL Constructors, Inc, and

The United States of America through the Federal Emergency Management Agency

(FEMA)1:

      Amendments to pleadings, third-party actions, cross-claims and counter-
claims shall be filed no later than June 21, 2010.

      Designation of experts and production of written reports of those experts, as
defined by Federal Rules of Civil Procedure 26(a) (2) (B), who may be witnesses for
parties, are subject to the following dates:


         1 Per Pretrial Order No. 70, these deadlines apply to plaintiffs Keith Nunnery

and Vanessa S. Jiles.



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         Plaintiffs shall designate experts no later than July 1, 2010.

         Plaintiffs shall produce expert reports no later than August 2, 2010.

         Defendants shall designate experts no later than August 3, 2010.

         Defendants shall produce expert reports no later than September 3, 2010.

         The parties are required to submit initial witness lists by August 20, 2010.

      Depositions for use at trial shall be taken and all discovery shall be
completed no later than October 5, 2010.

       Any motion directed to Plaintiffs’ use of the statistical model shall be filed on
or before August 30, 2010 and shall be noticed for hearing on September 22,
2010.

      All pre-trial motions, including dispositive motions, shall be filed no later
than October 8, 2010.

       The plaintiffs shall also provide to the defendants their “trial plan” of witness
testimony (including identification of live testimony and deposition testimony by
video or written transcript) by October 21, 2010.

       The defendants shall also provide to plaintiffs their “trial plan” of witness
testimony (including identification of live testimony and deposition testimony by
video or written transcript) by October 21, 2010.

       The parties shall also designate deposition cuts for all witnesses listed by
plaintiff and/or plaintiff and defendants on “trial plan” of witnesses by October 15,
2010.

      All Daubert motions and other motions in limine shall be filed no later than
the date the pre-trial order is due: October 21, 2010.

      The parties shall also file opposition memoranda to all dispositive motions by
October 18, 2010.

         The parties shall file reply briefs, if any, to dispositive motions by October 22,
2010.

      The parties shall also designate “cross” deposition designations by October
22, 2010.




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      The parties shall file oppositions to motions in limine, including Daubert
motions, by October 28, 2010.

      The parties shall file reply briefs, if any, in support of motions in limine,
including Daubert motions, by November 2, 2010.

      The parties shall also file objections to depositions designations by October
29, 2010.

      The parties shall file motions related to any unresolved deposition
designation objections by November 1, 2010.

      Request for oral argument shall be submitted and handled in accordance
with Local Rule 78.1E.

         Counsel shall complete all disclosure of information as follows:

       All parties have stipulated that initial disclosures pursuant to Fed. R. Civ. P.
26(a)(1) will not be conducted in this case.

       Counsel adding new parties subsequent to the mailing of this Notice shall
serve on each new party a copy of this Order. Pleadings responsive thereto, when
required, shall be filed within the applicable delays therefore.

      The Court has previously entered Pretrial Orders authorizing parties to
conduct discovery, including issuance of written discovery and taking of depositions.

       Counsel for the parties shall file in the record and serve upon their opponents
a final list of all witnesses who may or will be called to testify at trial, and all
exhibits that may or will be used at trial no later than October 8, 2010.

       The Court will not permit any witness, expert or fact, to testify or any
exhibits to be used unless there has been compliance with this Order as it pertains
to the witness and/or exhibits, without an order to do so issued on motion for good
cause shown.

      Settlement possibilities have been discussed. A further settlement
conference will be scheduled at any time at the request of any party.

      This case does involve extensive documentary evidence, depositions or other
discovery.

         Plaintiff shall issue Pre-Trial Order to all parties no later than October 12,
2010.



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       Defendants shall insert their additions to the Pre-Trial Order and circulate
no later than October 18, 2010.

         Final Pre-Trial Order shall be delivered to the Court no later October 25,
2010.

      A Final Pre-Trial Conference will be held before the District Judge on
Thursday, October 28, 2010, at 10:30 a.m. Counsel will be prepared in accordance
with the final Pre-Trial Notice attached.

    THE PRETRIAL ORDER SUBMITTED TO THE COURT MUST BE
DOUBLED SPACED, PAGINATED, AND SIGNED BY ALL COUNSEL.

       Trials will commence during the week beginning November 8, 2010. The
jury for the trial will be selected on Monday, November 8, 2010, at 8:30 a.m. and the
trial will begin on Tuesday, November 9, 2010, at 8:30 a.m. Attorneys are
instructed to report for trial no later than 30 minutes prior than these times. The
starting time on the first day of a jury trial may be delayed or moved up because of
jury pooling. Trial is estimated to last fourteen day(s).

       Plaintiff’s claims against the non-governmental private defendants will be
tried before a jury. Plaintiff’s claims against the United States will be tried by the
Court, and pursuant to the Court’s previous Order in this Multi-District Litigation,
the Court in resolving Plaintiff’s claims against the United States may use the jury
in an advisory capacity.

      Deadlines, cut-off dates, or other limits fixed herein may only be extended by
the Court upon timely motion filed in compliance with the Plan and Local Rules and
upon a showing of good cause. Trial will not be continued, even on joint motion,
absent good cause or compelling reason. If, however, a continuance is granted,
deadlines and cut-off dates will not be extended automatically, unless otherwise
ordered by the Court.

       It shall be assumed that all attorneys listed as counsel of records are, at all
times, informed and conversant about the case, and have authority to discuss this
matter with the Court.

       No cell phones, pagers, beepers, or other audible communication devices are
allowed in Section “N” courtroom and chambers. Any audible electronic
communication devices brought in the Section “N” courtroom or chambers are
subject to permanent confiscation, and/or sanction of the violator of this policy. You
may turn such devices in to Susan Adams, judicial assistant to Section “N”, upon
arriving, and pick them up when you have completed business in Section “N”.



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      All communication with Court staff is equivalent to communication directly
with the undersigned, and shall be courteous and professional. Any conduct toward
Court staff in deviation of this standard shall be promptly reported to the
undersigned.

     COUNSEL ARE INSTRUCTED TO INCLUDE THEIR FAX NUMBERS
AND EMAIL ADDRESSES ON ANY DOCUMENT THAT ARE FILED WITH THIS
COURT.

         New Orleans, Louisiana, this 18th day of June, 2010.



                    _____________________________________________
                         UNITED DISTRICT COURT JUDGE




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